           Case 20-20182 Document 454 Filed in TXSB on 06/02/20 Page 1 of 5




                         IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE SOUTHERN DISTRICT OF TEXAS
                                 CORPUS CHRISTI DIVISION

                                                                 )
In re:                                                           )       Chapter 11
                                                                 )
                                                  1
J. C. PENNEY COMPANY, INC., et al.,                              )       Case No. 20-20182 (DRJ)
                                                                 )
                                     Debtors.                    )       (Jointly Administered)
                                                                 )

                            DEBTORS’ WITNESS AND EXHIBIT LIST
                          FOR HEARING SCHEDULED FOR JUNE 4, 2020

                                                                     Name of Debtor: J. C. Penney Company,
    Main Case No: 20-20182 (DRJ)
                                                                     Inc, et al.

    Adversary No: n/a                                                Style of Adversary: n/a

    The Debtors may call the following witnesses:                    Judge: David R. Jones
    James Mesterharm, Managing Director,                             Courtroom Deputy: Vriana Portillo
    AlixPartners LLP (fact and expert witness)
    David Kurtz, Global Head of Restructuring,                       Hearing Date: June 4, 2020
    Lazard (fact and expert witness)
    Any witness listed or called by any other party                  Hearing Time: 9:00 A.M.
    Any witness required for rebuttal or impeachment                 Party’s Name: Debtors
    The Debtors’ anticipated exhibits are listed below.
    The Debtors reserve the right to create and present
                                                                     J. C. Penney Company, Inc., et al.
    demonstrative exhibits for use during witness
    testimony.
                                                                     Attorney’s Name: Matthew D.
                                                                     Cavenaugh




1
      A complete list of each of the Debtors in these chapter 11 cases may be obtained on the website of the Debtors’
      proposed claims and noticing agent at http://cases.primeclerk.com/JCPenney. The location of Debtor
      J. C. Penney Company, Inc.’s principal place of business and the Debtors’ service address in these chapter 11
      cases is 6501 Legacy Drive, Plano, Texas 75024.


                                                          1
             Case 20-20182 Document 454 Filed in TXSB on 06/02/20 Page 2 of 5




                                               DEBTORS’ EXHIBITS 2

Debtors’                   Description                        Offered        Objection        Admitted/          Disposition
  Ex.                                                                                           Not
   #                                                                                          Admitted
           JCP DIP Request for Proposal
   1
           (JCP0002405−JCP0002416)
           DIP Commitment Letter and Term
   2       Sheet - First Lien Group
           (JCP0009750−JCP0009791)
           DIP Commitment Letter and Term
   3       Sheet - Crossholder Group
           (JCP0010488−JCP0010492)
           Restructuring Support Agreement
   4
           (JCP0010406−JCP0010486)
           Debtors’ Capital Structure Chart
   5
           (JCP00010487)
   6       DIP Budget (JCP00010493)
           Intercreditor and Collateral
           Cooperation Agreement Among
           Wells Fargo Bank, N.A., Wilmington
           Trust, N.A., each Other
   7       Representative From Time to Time
           Party Hereto, J.C. Penney
           Corporation, Inc., and the Other
           Guarantors Party Hereto (June 23,
           2016) (JCP0009859−JCP0009903)
           Pari Passu Intercreditor Agreement
   8       dated June 23, 2016
           (JCP0009792−JCP0009858)
           Junior Priority Intercreditor
   9       Agreement dated March 12, 2018
           (JCP0010281−JCP0010313)
           Term Loan Agreement
  10
           (JCP0009904−JCP0010280)
           First Lien Notes Indenture
  11
           (JCP0010314−JCP0010405)
           May 15, 2020 Milbank DIP Proposal
  12
           (AM) (JCP0005220−JCP0005319)
           May 15, 2020 Email Chain
  13
           (JCP0006138−JCP0006139)


    2
        Certain documents may be confidential and, if so, will be offered, if at all, under seal or in redacted form.


                                                               2
            Case 20-20182 Document 454 Filed in TXSB on 06/02/20 Page 3 of 5




Debtors’               Description                  Offered   Objection   Admitted/   Disposition
  Ex.                                                                       Not
   #                                                                      Admitted
           May 15, 2020 Milbank DIP Proposal
  14
           (PM) (JCP0006146−JCP0006220)
           May 19, 2020 DIP Proposal -
  15       Crossholder Group
           (JCP0004179−JCP0004186)
           May 24, 2020 JCP Response to
  16       Crossholder Group DIP Proposal
           (JCP0004187−JCP0004200)
           May 24, 2020 Response of
  17       Crossholder Group re DIP Proposal
           (JCP0004201−JCP0004220)
           May 15 Board Presentation
  18
           (JCP0004053−JCP0004091)
           May 28 Board Presentation
  19
           (JCP0010503−JCP0010514)
           Interim Order (I) Authorizing Debtors
           to Use Cash Collateral, (II) Granting
           Adequate Protection to the Prepetition
  20       Secured Parties, and (III) Scheduling
           a Final Hearing Pursuant to
           Bankruptcy Rule 4001(b) [Docket
           No. 108]
           Declaration and Expert Report of
           James E. Mesterharm in Support of
           the Debtors' Motion for Entry of a
  21       Final Order Authorizing the Debtors
           to Obtain Postpetition Financing
           Pursuant to Section 364 of the
           Bankruptcy Code [Docket No. 452]
           Declaration and Expert Report of
           David Kurtz in Support of the
           Debtors' Motion for Entry of a Final
  22       Order Authorizing the Debtors to
           Obtain Postpetition Financing
           Pursuant to Section 364 of the
           Bankruptcy Code [Docket No. 453]




                                                    3
             Case 20-20182 Document 454 Filed in TXSB on 06/02/20 Page 4 of 5




            The Debtors reserve the right to offer some, all, or none of these Exhibits at the hearing.

    The Debtors also reserve the right to supplement, add to, subtract from, or otherwise amend this

    Witness and Exhibit List at any time prior to the hearing.


Respectfully Submitted,
June 2, 2020

/s/ Matthew D. Cavenaugh
JACKSON WALKER L.L.P.                              KIRKLAND & ELLIS LLP
Matthew D. Cavenaugh (TX Bar No. 24062656)         KIRKLAND & ELLIS INTERNATIONAL LLP
Jennifer F. Wertz (TX Bar No. 24072822)            Joshua A. Sussberg, P.C. (admitted pro hac vice)
Kristhy M. Peguero (TX Bar No. 24102776)           Christopher Marcus, P.C. (admitted pro hac vice)
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                vpolnick@jw.com
                                                   Proposed Co-Counsel to the Debtors
Proposed Co-Counsel to the Debtors                 and Debtors in Possession
and Debtors in Possession




                                                     4
       Case 20-20182 Document 454 Filed in TXSB on 06/02/20 Page 5 of 5




                                     Certificate of Service

        I certify that on June 2, 2020, I caused a copy of the foregoing document to be served by
the Electronic Case Filing System for the United States Bankruptcy Court for the Southern
District of Texas.

                                                      /s/ Matthew D. Cavenaugh
                                                      Matthew D. Cavenaugh




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